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                                           5                                  IN THE UNITED STATES DISTRICT COURT
                                           6                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                           8   LAMONTE MORRIS,                                          No. C 09-00800 SI
                                           9                     Plaintiff,                             ORDER DENYING PLAINTIFF’S
                                                                                                        MOTION FOR SUMMARY JUDGMENT
                                          10        v.                                                  AND GRANTING DEFENDANT’S
                                                                                                        MOTION FOR SUMMARY JUDGMENT
For the Northern District of California




                                          11   MICHAEL J. ASTRUE,
    United States District Court




                                          12                     Defendant.
                                                                                             /
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                                          14              Plaintiff Lamonte Morris brings this action pursuant to 42 U.S.C. § 405(g) seeking judicial

                                          15   review of a decision by the Commissioner of the Social Security Administration denying plaintiff’s

                                          16   application for Supplemental Security Income disability benefits. Presently before the Court are the
                                          17   parties’ cross-motions for summary judgment.
                                          18              Based upon the Court’s review of the parties’ papers and the administrative record, the Court
                                          19   hereby DENIES plaintiff’s motion for summary judgment and GRANTS defendant’s motion for
                                          20   summary judgment.
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                                          22                                               BACKGROUND
                                          23   I.         Procedural History
                                          24              Plaintiff filed an application for Supplemental Security Income (“SSI”) benefits based on
                                          25   disability on October 23, 2006, alleging back pain, high blood pressure, diabetes, high cholesterol, and
                                          26   a prostate problem. After his claims were denied, plaintiff filed a request for a hearing before an
                                          27   Administrative Law Judge (“ALJ”). On June 2, 2008, plaintiff appeared with counsel at a hearing in
                                          28   Oakland, California. The ALJ denied plaintiff’s claim, finding that plaintiff is not disabled because he
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                                           1   can perform work available in significant numbers in the national economy. Plaintiff’s request for
                                           2   review by the Appeals Council was denied on December 24, 2008. This Court has jurisdiction pursuant
                                           3   to 42 U.S.C. § 405(g).
                                           4
                                           5   II.    Factual Background
                                           6          A.      Physical and Mental Impairments
                                           7          Plaintiff was born on September 3, 1964. See Administrative Record (“AR”) at 90. He has an
                                           8   eighth-grade education, id. at 109, and last worked in 2000 as a furniture mover. Id. at 29, 37. When
                                           9   he originally applied for SSI benefits, plaintiff claimed that he was disabled due to back pain, high blood
                                          10   pressure, diabetes, high cholesterol, and a prostate problem. Id. at 104. Following his application for
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                                          11   benefits, plaintiff underwent a consultative orthopedic examination by Dr. Calvin Pon on December 12,
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                                          12   2006. Id. at 154-55. Dr. Pon found that plaintiff suffered from “lumbar disc disease and/or degenerative
                                          13   changes of the lumbosacral facet joints,” as well as hypertension and diabetes. Id. Dr. Pon also found
                                          14   that plaintiff appeared “well developed” and “well nourished,” and was able to walk, stand, and sit
                                          15   normally and without restriction. Id. Dr. Pon concluded that plaintiff could lift and carry up to 50
                                          16   pounds occasionally and 25 pounds frequently. Id. at 155.
                                          17          On September 20, 2007, plaintiff’s physician at the Alameda County Medical Center noted that
                                          18   plaintiff suffered from depression. Id. at 184. On January 9, 2008, the same physician noted that
                                          19   plaintiff’s depression was “resolved by med[ication].” Id. at 181. During his hearing before the ALJ,
                                          20   plaintiff testified that he experienced anxiety, emotional instability, and low energy. See id. at 44.
                                          21   Plaintiff also testified that some of the pills he was taking were “like Prozac.” Id. Although plaintiff
                                          22   sometimes would be “mad for no reason,” if he took those pills, he would be “all right.” Id.
                                          23
                                          24          B.      ALJ’s Findings
                                          25          The ALJ evaluates disability cases using a five-step evaluation process established by the Social
                                          26   Security Administration. Tackett v. Apfel, 180 F.3d 1094, 1098-99 (9th Cir. 1999); see also 20 C.F. R.
                                          27   § 404.1520. In the first two steps, the claimant must establish that he is (1) not performing substantial
                                          28   gainful work and (2) not performing substantial gainful work due to a “severe” impairment. 20 C.F. R.

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                                           1   § 404.1520. An impairment must have lasted or be expected to last twelve months in order to be
                                           2   considered severe. 20 C.F.R. § 404.1509. In the third step, the claimant must establish that his
                                           3   impairment meets or medically equals a listed impairment described in the administrative regulations.
                                           4   20 C.F.R. § 404.1520. If the claimant’s impairment does not meet or equal one of the listed
                                           5   impairments, the evaluation proceeds to the fourth step, in which the claimant must establish his
                                           6   impairment prevents him from performing relevant work he did in the past. Id. In the fifth step, the
                                           7   Commissioner must demonstrate that the claimant is able to do other work, and that there are a
                                           8   significant number of jobs in the national economy that claimant can do. Tackett, 180 F.3d at 1099.
                                           9   The Commissioner may meet this burden by relying upon “the testimony of a vocational expert.” Id.
                                          10   The burden of proof is on the claimant as to the first four steps. Id. at 1098. The burden shifts to the
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                                          11   Commissioner for the fifth step. Id.
    United States District Court




                                          12          In this case, the ALJ found that plaintiff had a combination of severe physical impairments
                                          13   which prevented him from performing his past work. AR at 22. These severe impairments were
                                          14   diabetes mellitus, hypertension, hyperlipidemia, and lumbar disc disease. Id. The ALJ did not find that
                                          15   plaintiff suffered from any severe mental impairments. See id. Under the third step, the ALJ found that
                                          16   plaintiff did not suffer from an impairment or combination of impairments that met or equaled one of
                                          17   the listed impairments in 20 C.F.R. Part 404, Subpart P, Appendix 1. Id. at 21. Based on the medical
                                          18   record, the ALJ found that although plaintiff could not perform his past work as a furniture mover, he
                                          19   retained the functional capacity to perform light work that included lifting and carrying 20 pounds
                                          20   occasionally and 10 pounds frequently, as well as standing, walking, or sitting for 6 hours in the 8 hour
                                          21   workday. Id. at 21-22. This means that even with his limitations, plaintiff could work as a cashier,
                                          22   which is a job available in significant numbers in the national economy. Id. at 22. The ALJ therefore
                                          23   denied plaintiff’s claim at the fifth step of the evaluation. Id.
                                          24
                                          25                                            LEGAL STANDARD
                                          26          A district court’s review of a disability determination is limited, and a final administrative
                                          27   decision may be altered “only if it is based on legal error or if the fact findings are not supported by
                                          28   substantial evidence.” Sprague v. Bowen, 812 F.2d 1226, 1229 (9th Cir. 1987). Substantial evidence

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                                           1   is that relevant evidence in the entire record “which a reasonable person might accept as adequate to
                                           2   support a conclusion.” Vertigan v. Halter, 260 F.3d 1044, 1049 (9th Cir. 2001). Substantial evidence
                                           3   consists of “more than a mere scintilla but less than a preponderance.” Young v. Sullivan, 911 F.2d 181,
                                           4   183 (9th Cir. 1990). The Court must consider the entire record, including evidence that both supports
                                           5   and detracts from the ALJ’s decision. See Aukland v. Massanari, 257 F.3d 1033, 1035 (9th Cir. 2001).
                                           6   However, the ALJ’s decision must be upheld if the evidence is susceptible to more than one rational
                                           7   interpretation. Allen v. Sec’y of Health & Human Servs., 726 F.2d 1470, 1473 (9th Cir. 1984).
                                           8
                                           9                                                DISCUSSION
                                          10           Plaintiff moves for summary judgment, arguing that the ALJ erred when he failed to consider
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                                          11   the effects of plaintiff’s alleged depression when determining whether plaintiff had a disability. Plaintiff
    United States District Court




                                          12   argues that the ALJ should have taken his alleged depression into account at his hearing because
                                          13   plaintiff has been treated for depression and testified to symptoms consistent with depression,
                                          14   specifically, anxiety, sleep disturbance, and low energy. Defendant also moves for summary judgment,
                                          15   arguing that the ALJ properly found that plaintiff was not mentally impaired by depression. Defendant
                                          16   asserts that plaintiff’s depression does not constitute a severe mental impairment because it is controlled
                                          17   by medication and does not limit his ability to perform basic work activities.
                                          18           The Court finds that the ALJ did not err. Plaintiff has the burden of proving that he suffered
                                          19   from a severe mental impairment. Bowen v. Yuckert, 482 U.S. 137, 146 n.5 (1987) (explaining that the
                                          20   claimant bears the burden of proving that he has a medically severe impairment or combination of
                                          21   impairments). Plaintiff, however, did not claim to be disabled by depression, nor did he present any
                                          22   evidence to the ALJ demonstrating that his depression limited his ability to perform basic work
                                          23   activities. He did not meet his burden of proof.
                                          24
                                                       Furthermore, the record establishes that plaintiff’s depression was adequately controlled by
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                                               medication. “Impairments that can be controlled effectively with medication are not disabling for the
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                                               purpose of determining eligibility for SSI benefits.” Warre v. Comm’r of Soc. Sec. Admin., 439 F.3d
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                                               1001, 1006 (9th Cir. 2006). On January 9, 2008, plaintiff’s physician at the Alameda County Medical
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                                           1   Center noted that plaintiff’s depression was “resolved by med[ication].” Id. at 181. During his hearing
                                           2   before the ALJ, plaintiff testified that some of the pills he took were “like Prozac.” Id. at 44. Although
                                           3   plaintiff would sometimes be “mad for no reason,” if he took those pills, he would be “all right.” Id.
                                           4   There is no evidence in the record that plaintiff’s depression is disabling. The ALJ did not err in failing
                                           5   to consider the effects of plaintiff’s alleged depression.
                                           6
                                           7                                               CONCLUSION

                                           8          For the foregoing reasons, plaintiff’s motion for summary judgment (Docket No. 15) is DENIED
                                           9   and defendant’s motion for summary judgment (Docket No. 17) is GRANTED.
                                          10
For the Northern District of California




                                          11          IT IS SO ORDERED.
    United States District Court




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                                               Dated: December 23, 2010
                                          13                                                                      SUSAN ILLSTON
                                          14                                                                      United States District Judge

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